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      SCIENCE FEEDBACK and
13    CLIMATE FEEDBACK

14                               UNITED STATES DISTRICT COURT
15                              NORTHERN DISTRICT OF CALIFORNIA
16                                        SAN JOSE DIVISION
17   JOHN STOSSEL, an individual,
                                                      Case No. 5:21-cv-07385-LHK
18
                   Plaintiff,
19                                                    [PROPOSED] ORDER ON
           v.                                         STIPULATION REGARDING
20                                                    CONSENT TO MAGISTRATE JUDGE
     FACEBOOK, INC., a Delaware corporation;          VIRGINIA DEMARCHI PER DKT. 39,
21   SCIENCE FEEDBACK, a French non-profit            AND REGARDING BRIEFING
     organization; and CLIMATE FEEDBACK, a French     SCHEDULE PER L.R. 6-2(A)
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     non-profit organization,
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                   Defendants.
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      [PROPOSED] ORDER GRANTING STIPULATION                       CASE NO.: 5:21-CV-07385-LHK
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1                                            [PROPOSED] ORDER
2    PURSUANT TO STIPULATION, IT IS SO ORDERED that:

3          1.      Any objection by Defendants Science Feedback and Climate Feedback (the
4                  “Feedback Defendants”) to the manner in which they were or were not served with
5                  process is waived;
6          2.      U.S. Magistrate Judge Virginia K. DeMarchi shall exercise jurisdiction over this
7                  matter and be reassigned as the presiding judge;
8          3.      The Feedback Defendants shall file their response(s) to Plaintiff’s Complaint by
9                  January 31, 2022; Plaintiff shall file his opposition(s) to the Feedback Defendants’

10                 response(s) by February 28, 2022; and the Feedback Defendants shall file their reply

11                 by March 21, 2022;

12         4.      The briefing schedule on Meta’s Motion to Dismiss and Special Motion to Strike

13                 shall remain unchanged, with Plaintiff to file his opposition to Meta’s Motion by

14                 January 11, 2022, and Meta to file its reply by February 8, 2022;
           5.      Discovery is stayed as to all parties, until the Court has issued an Order deciding both
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                   Meta’s motions and the Feedback Defendants’ motion(s), except that Plaintiff may
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                   seek to commence discovery on any factual issues raised by any special motion to
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                   strike filed by the Feedback Defendants pursuant to California’s anti-SLAPP law.
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           6.      There shall be a consolidated hearing on Meta’s pending motions, and on the
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                   Feedback Defendants’ anticipated motion(s), at a date convenient to the Court in
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                   April, 2022.
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     IT IS SO ORDERED.
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     Dated: ________________________
23                                                              Judge of the U.S. District Court
                                                                Northern District of California
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     [PROPOSED] ORDER GRANTING STIPULATION                                    CASE NO.: 5:21-CV-07385-LHK
